

People v Rydzeski (2018 NY Slip Op 02972)





People v Rydzeski


2018 NY Slip Op 02972


Decided on April 27, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 27, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CENTRA, LINDLEY, CURRAN, AND TROUTMAN, JJ.


436 KA 17-00456

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vJAMES W. RYDZESKI, DEFENDANT-APPELLANT. 






LEANNE LAPP, PUBLIC DEFENDER, CANANDAIGUA (CARA A. WALDMAN OF COUNSEL), FOR DEFENDANT-APPELLANT. 
JAMES B. RITTS, DISTRICT ATTORNEY, CANANDAIGUA (JASON A. MACBRIDE OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Ontario County (Craig J. Doran, J.), rendered February 5, 2016. The judgment convicted defendant, upon his plea of guilty, of assault in the second degree (two counts). 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Entered: April 27, 2018
Mark W. Bennett
Clerk of the Court








